               Case 6:06-cr-00026-JRH-CLR Document 1604 Filed 10/09/15 Page 1 of 1
AO 247 (R€v. ll/11) OrderRegarding
                                 Motionfor Sentence              to l8 U.S.C.$ 3582(cX2)
                                                  ReductionPursuant                                   PaBeI of2 (Page
                                                                                                                    2 NoLforPublicDisclosure)


                                  UNrrBoSrarpsDrsrnrcrCounr                                                          F'.E'
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                                                     SouthemDistrict of Georgia
                                                        StatesboroDivision
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                  UnitedStatesof America
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                           v.
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                                                                         CaseNo:        6:06CR00026-14
                        BrentisHendrix
                                                                         USM No:        13010-021
Dateof OriginalJudgment:      December10,20q7-
DateofPreviousAmendedJudgment:N/A                                        ChesterJ. Gregg
(UseDate of Last AnendedJudgmentifAny)                                   Defendant'sAttorney


                ORDERREGARDINGMOTION FOR SENTENCEREDUCTION
                        PURSUANTTO 18U.S.C.$ 3s82(cX2)
       Uponmotionof I the defendant E the Directorofthe BureauofPrisons X the courtunderl8U.S,C,
$ 3582(cX2)for a reductionin thetermof imprisonment   imposedbasedon a guidelinesentencing  rangethathas
subsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing          Commissionpursuantto 28 U.S.C.
$ 994(u),
        and having  considered such  motion,and taking into accountthe policy         setfonh at USSG$1E}1.10
                                                                              statement
andthe sentencing factorssetforth in 18 U,S.C.$ 3553(a),to the extentthattheyareapplicable,
IT lS ORDEREDthatthemotionis:
                                            previouslyimposedsentence
       E DENIED. tr GRANTEDandthe defendant's                                     (asrelected
                                                                    of imprisonment         ih
thetastjudgmentissued)of                                           months is reduced to
                                         (Complete Parti I and 1l of Page 2 when molion is gr,nted)




Except as otherwiseprovided, all provisions ofthejudgment dated
IT IS SO ORDERED,

orderDate:l0l9!5

                                                               DudleyH. Bowen,Jr.
                      l, 20I 5
EffectiveDate: November                                        UnitedStatesDistrictJudge
                  (if dilferentfrom order date)                                             Prihted name and title
